       Case 4:10-cv-02386 Document 223 Filed in TXSD on 06/08/18 Page 1 of 4



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

__________________________________________
                                                     )
EXXON MOBIL CORPORATION,                             )
                                                     )
                       Plaintiff,                    )
               v.                                    )      4:10-CV-02386 (LHR)
                                                     )      4:11-CV-01814 (LHR)
UNITED STATES OF AMERICA,                            )
                                                     )
                       Defendant.                    )
                                                     )

                         NOTICE OF CORRECTED FILINGS AND
                        CONVENTIONAL FILING OF MATERIALS

        Please take notice that, with permission from Chambers, the United States is filing

corrected versions of the following Phase II summary judgment filings:

   •    Defendant United States of America’s Memorandum in Support of Motion for Partial
        Summary Judgment on Phase Two Issues (Dec. 15, 2017), Dkt. No. 202-1 in 4:10-cv-
        02386 and Dkt. No. 133-1 in 4:11-cv-01814 (which was corrected a first time on January
        24, 2018);

   •    Defendant United States of America’s Statement of Undisputed Facts in Support of Its
        Motion for Partial Summary Judgment on Phase Two Issues (Dec. 15, 2017), Dkt. No.
        202-2 in 4:10-cv-02386 and Dkt. No. 133-2 in 4:11-cv-01814 (which was corrected a
        first time on January 24, 2018);

   •    Defendant United States of America’s Opposition to Plaintiff ExxonMobil Corp.’s
        Consolidated Motion for Partial Summary Judgment as to Phase Two Cost and
        Allocation Issues (Mar. 23, 2018), Dkt. No. 212 in 4:10-cv-02386 and Dkt. No. 142 in
        4:11-cv-01814;

   •    Defendant United States of America’s Supplemental Statement of Undisputed Facts in
        Opposition to Plaintiff ExxonMobil Corp.’s Consolidated Motion for Partial Summary
        Judgment as to Phase 2 Cost and Allocation Issues (Mar. 3, 2018), Dkt. No. 212-1 in
        4:10-cv-02386 and Dkt. No. 142-1 in 4:11-cv-01814;

   •    Defendant United States of America’s Response to Plaintiff’s Proposed Findings of
        Undisputed Material Facts (Mar. 23, 2018), Dkt. No. 212-2 in 4:10-cv-02386 and Dkt.
        No. 142-2 in 4:11-cv-01814;


                                                1
       Case 4:10-cv-02386 Document 223 Filed in TXSD on 06/08/18 Page 2 of 4



   •    Defendant United States of America’s Reply in Support of Motion for Partial Summary
        Judgment on Phase Two Issues (Mar. 23, 2018), Dkt. No. 220 in 4:10-cv-02386 and Dkt.
        No. 150 in 4:11-cv-01814; and

   •    Defendant United States of America’s Second Supplemental Statement of Undisputed
        Facts in Support of Its Motion for Partial Summary Judgment on Phase Two Issues (Mar.
        23, 2018), Dkt. No. 220-1 in 4:10-cv-02386 and Dkt. No. 150-1 in 4:11-cv-01814.

The corrections to the preceding documents address typographical and citation errors and the

addition of one exhibit inadvertently omitted, which has been designated U.S. Exhibit 303.

        Please also take notice that, by agreement of the parties, Plaintiff ExxonMobil has

released its claims of confidentiality as to United States Exhibits 2, 10, 11, 12, 14, 15, 28, 116,

149, 150, 151 and 162. Exxon has also released its claims of confidentiality as to the majority of

United States Exhibits 114 and 115, and the parties have agreed to certain redactions so those

exhibits may be filed publicly. As a result, the United States’ Corrected Memorandum in

Support of Motion for Partial Summary Judgment on Phase Two Issues, Corrected Statement of

Undisputed Material Facts, and the above-referenced exhibits will be filed publicly.

        Lastly, please take notice that, pursuant to Local Rule 5.1, the Court’s Administrative

Procedures, and permission from Chambers (which the parties sought in connection with the

December 2017 motions for summary judgment in these cases), the United States is

conventionally filing all exhibits accompanying the corrected filings (U.S. Exhibits 1-303) by

thumb drive. The United States will submit two copies of the thumb drives, one for each of the

two above-captioned cases.

                                             Respectfully submitted,

 Dated: June 8, 2018                         JEFFREY H. WOOD
                                             Acting Assistant Attorney General
                                             Environment and Natural Resources Division

                                              /s/ Erica Zilioli
                                             Michael D. Rowe (Attorney-in-Charge)
                                             Erica M. Zilioli
                                                  2
Case 4:10-cv-02386 Document 223 Filed in TXSD on 06/08/18 Page 3 of 4



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                                  3
     Case 4:10-cv-02386 Document 223 Filed in TXSD on 06/08/18 Page 4 of 4



                               CERTIFICATE OF SERVICE

       I hereby certify that on June 8, 2018, I filed the foregoing using the Court’s CM/ECF

system, which will electronically serve all counsel of record registered to use the CM/ECF

system.

                                            /s/ Erica Zilioli




                                               4
